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5
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7
                                 UNITED STATES DISTRICT COURT
8

9                                EASTERN DISTRICT OF CALIFORNIA

10

11 UNITED STATES OF AMERICA,                       )   CASE NO. CR-09-0125-FCD
12                                                 )
                                 Plaintiff,        )   ORDER CONTINUING SENTENCING
13                                                 )   HEARING TO DECEMBER TO 6, 2010
           v.                                      )
14                                                 )
     SARTAJ CHAHAL,                                )
15
                                                   )
16                           Defendant.            )
     ________________________________              )
17
18

19 For good cause shown, IT IS HEREBY ORDERED THAT:

20         The Stipulation to Continue the Sentencing Hearing presently set for September 27, 2010 at

21 10:00 AM is hereby granted and the Sentencing Hearing is hereby continued to December 6, 2010 at

22 10:00 AM.

23
     Dated: September 23, 2010
24

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                                               _______________________________________
26                                             FRANK C. DAMRELL, JR.
                                               UNITED STATES DISTRICT JUDGE
27

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